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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,
 United States Department of Justice
 Antitrust Division
 450 Fifth Street, N.W., Suite 8700                          Civil Action No.:
 Washington, DC 20530,
                               Plaintiff,
                   v.

 WIENERBERGER AG
 Wienerbergerplatz 1
 1100 Wien, Austria,

 GENERAL SHALE BRICK, INC.
 3015 Bristol Hwy.
 Johnson City, Tennessee 37601,

 LSF9 STARDUST SUPER HOLDINGS, L.P.
 Washington Mall
 7 Reid Street, Suite 304
 Hamilton, Bermuda HM 11,

 BORAL LIMITED
 Level 18
 15 Blue Street
 North Sydney, NSW 2060, Australia,

             and

 MERIDIAN BRICK LLC
 6455 Shiloh Rd.
 Alpharetta, Georgia 30005,

                               Defendants.



                                            COMPLAINT

       The United States of America (“United States”), acting under the direction of the

Attorney General of the United States, brings this civil antitrust action against Defendants
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Wienerberger AG, its North American subsidiary General Shale Brick, Inc. (“General Shale”),

Meridian Brick LLC (“Meridian”), and Meridian’s parent companies Boral Limited and LSF9

Stardust Super Holdings, L.P. to enjoin General Shale’s proposed acquisition of Meridian. The

United States alleges as follows:

I.     NATURE OF THE ACTION

       1.       General Shale’s proposed acquisition of its rival, Meridian, would combine two of

the largest residential brick manufacturers in numerous markets across the midwestern and

southern United States. General Shale and Meridian compete daily to supply a variety of

residential brick to customers ranging from local homebuilders to national construction

companies. As a result of the transaction, homebuilders of all types likely will pay higher prices,

face reduced innovation, and receive lower quality products for their residential brick supply.

       2.       In numerous markets across the United States, General Shale and Meridian are the

two most significant suppliers of residential brick or two of only a few such suppliers.

Homebuilders, particularly in certain areas of Alabama, Indiana, Kentucky, Michigan, Ohio, and

Tennessee depend on competition between General Shale and Meridian to ensure a supply of

quality brick at competitive prices.

       3.       Not only has competition between General Shale and Meridian driven residential

brick prices down, it has also fostered product innovation that has resulted in new products and

the broad portfolio that each firm offers today. For example, competition between these firms

has resulted in the introduction of new color mixes, textures, and facing styles, as well as more

efficient and environmentally sustainable production processes.

       4.       By eliminating competition between General Shale and Meridian, the proposed

acquisition would result in higher prices, reduced innovation, and lower quality in the markets



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for the design, manufacture, and sale of residential brick. Accordingly, General Shale’s

acquisition of Meridian would violate Section 7 of the Clayton Act, 15 U.S.C. § 18, and

therefore should be enjoined.

II.    THE PARTIES AND THE TRANSACTION

       5.       General Shale is a Delaware corporation headquartered in Johnson City,

Tennessee. It is a leading U.S. producer of building material solutions and one of North

America’s largest brick, stone, and concrete block manufacturers. General Shale operates 11

production facilities in 10 states and provinces. It also has a network of 21 sales locations and

more than 200 affiliated distributors in North America.

       6.       Wienerberger AG, an Austrian corporation, is General Shale’s parent company.

Based in Vienna, Austria, it is one of the world’s largest building materials manufacturers.

Wienerberger AG operates manufacturing and distribution facilities for brick and other

construction materials in three continents, including in North America through General Shale. In

2020, Wienerberger AG’s North American business generated revenues of approximately $370

million, 78% of which was derived from brick sales, including residential brick sales.

       7.       Meridian is a Delaware limited liability company. Headquartered in Alpharetta,

Georgia, Meridian manufactures and sells construction materials, including commercial and

residential brick and masonry materials. Meridian is the largest brick supplier in the United

States. During fiscal year 2020, it generated revenues of over $400 million, which primarily

came from brick sales, including residential brick sales. Meridian and its sister company

Meridian Brick Canada Ltd. make up the Meridian Group, which operates 20 manufacturing

facilities and 27 distribution centers throughout North America. The Meridian Group is directly

and indirectly owned by Boral Limited (“Boral”) and LSF9 Stardust Super Holdings, L.P. Boral



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is an Australian public company that produces and supplies building and construction materials

primarily in North America and Australia. Boral and LSF9 Stardust Super Holdings, L.P.

formed Meridian as a joint venture in 2016.

       8.       On December 18, 2020, General Shale announced its intention to acquire

Meridian from Boral and LSF9 Stardust Super Holdings, L.P. as part of a total transaction valued

at approximately $250 million.

III.   JURISDICTION AND VENUE

       9.       The United States brings this action under Section 15 of the Clayton Act, 15

U.S.C. § 25, as amended, to prevent and restrain Defendants from violating Section 7 of the

Clayton Act, 15 U.S.C. § 18.

       10.      Defendants’ activities substantially affect interstate commerce. They manufacture

and sell residential brick directly to customers and through third-party distributors throughout the

southern and midwestern United States. This Court has subject matter jurisdiction over this

action pursuant to Section 15 of the Clayton Act, 15 U.S.C. § 25, and 28 U.S.C. §§ 1331,

1337(a), and 1345.

       11.      Defendants have consented to venue and personal jurisdiction in this judicial

district. Venue is proper in this district under Section 12 of the Clayton Act, 15 U.S.C. § 22, and

under 28 U.S.C. § 1391(b)(3) and (c)(2) for Meridian and General Shale, and venue is proper for

LSF9 Stardust Super Holdings, L.P., Boral Limited, and Wienerberger AG under 28 U.S.C. §

1391(c)(3).




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IV.    RELEVANT MARKETS

       A.      Product Market: Residential Brick

       12.     Residential brick is a type of exterior cladding that is used to protect homes and

other buildings from weather and the elements. It comes in various sizes and colors and is

primarily comprised of shale or red clay that has been fired in a kiln. Residential brick of each

color and size is manufactured in a substantially similar process, with minor adjustments in the

amount of clay or type of color additives used to make a particular brick model. Indeed,

although residential brick comes in varying sizes (e.g., modular, queen, and king) and colors

(e.g., red, white, or grey), all residential brick volumes are measured in Standard Brick

Equivalents (“SBE”).1

       13.     Residential brick is distinct from commercial brick. Residential brick is less

expensive than commercial brick due to different manufacturing processes. In particular,

commercial brick is made by a process called through-body extrusion. Through-body extrusion

entails a rigorous coloring process that ensures uniform coloring throughout the body of the

brick. This achieves the higher color quality required of commercial brick. By contrast,

residential brick is often colored only on the outer portion of the brick, and the residential brick

manufacturing process requires fewer additives and other costly inputs.

       14.     Residential brick must meet standard specifications for residential use that are set

by the American Society for Testing and Materials (“ASTM”). These standards require certain

durability and load capabilities that differentiate residential brick from decorative paving brick as




1
 The American Society for Testing and Materials has established a standard brick size for
construction uses, which is referred to as the standard brick equivalent or “SBE.” Residential
brick of different sizes is converted to SBE units when sold for purposes of measuring the
volume sold.
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well as “thin” brick, which is a fraction of the thickness of residential brick and has lower

structural requirements because it is ornamental.

       15.     Residential brick is distinct from other types of exterior cladding. It has both

performance characteristics (such as durability and structural integrity) and aesthetic traits that

distinguish it from products such as siding and other exterior claddings. Customers who prefer

the look of residential brick, or whose projects require the unique properties of residential brick,

cannot reasonably turn to alternative exterior cladding solutions.

       16.     Because of these unique characteristics, substitution away from residential brick

in the event of a small but significant increase in price by a hypothetical monopolist of

residential brick would be insufficient to make such a price increase unprofitable. Accordingly,

residential brick is a line of commerce, or relevant product market, for purposes of analyzing the

effects of the proposed acquisition under Section 7 of the Clayton Act.

       B.      The Relevant Geographic Markets are Local

       17.     Residential brick is generally transported by truck. Transportation costs can be

substantial and typically range from 15% to 30% of the total price of residential brick. As a

result, the geographic markets for residential brick tend to be local, with the specific geographic

boundaries of any local market also determined by road infrastructure, traffic conditions, and

natural conditions, such as mountain ranges that impose significantly higher fuel costs on the

transportation of residential brick to customers in local markets.

       18.     The transaction would likely harm competition for residential brick in the

following Metropolitan Statistical Areas (“MSAs”)2: (1) Nashville, Tennessee; (2) Memphis,


2
  An MSA is a geographical region defined by the Office of Management and Budget for use by
federal statistical agencies, such as the Census Bureau. It is based on the concept of a core area
with a large concentrated population, plus adjacent communities having close economic and


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Tennessee; (3) Huntsville, Alabama; (4) Lexington, Kentucky; (5) Louisville, Kentucky; (6)

Indianapolis, Indiana; (7) Detroit, Michigan; and (8) Cincinnati, Ohio.

       19.     In each of these relevant markets, a small but significant increase in price by a

hypothetical monopolist of residential brick would not be defeated by substitution to commercial

brick or other claddings, other construction materials, or by arbitrage – i.e., a buyer cannot

purchase outside the MSA and transport the residential bricks itself without incurring prohibitive

transportation costs. Accordingly, the sale of residential brick in each of these MSAs constitutes

a relevant market for purposes of analyzing the effects of the acquisition under Section 7 of the

Clayton Act.

V.     ANTICOMPETITIVE EFFECTS

       20.     The proposed transaction would significantly increase concentration in the

relevant markets and harm consumers by eliminating the substantial head-to-head competition

that currently exists between General Shale and Meridian.

       21.     For each relevant market, General Shale and Meridian are among the top

suppliers of residential brick by volume sold and have a competitive advantage because of the

proximity of their manufacturing facilities to customers in each relevant market. Further, only

two or three significant competitors, including General Shale and Meridian, supply each relevant

market. Other residential brick suppliers face significantly higher transportation costs to serve

these markets and thus have limited competitive significance. Competition between General

Shale and Meridian has also spurred product innovation that has yielded higher quality and a

variety of innovative residential brick products, including new colors, textures, and facing styles.




social ties to the core. For the purposes of this Complaint, it includes the dense central business
districts in the named cities as well as the adjacent, connected communities.
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         22.   Homebuilders and other customers in the relevant markets thus rely on

competition between General Shale and Meridian to supply a variety of quality residential brick

at competitive prices. By eliminating this competition, the proposed transaction would likely

lead to higher prices and reduced investment in innovation and quality.

         A.    The Nashville, Tennessee MSA

         23.   In 2020, Tennessee was the second-largest brick consuming state in the United

States. General Shale and Meridian supplied approximately 54% of the total brick volume sold

in Tennessee in 2020. General Shale and Meridian are particularly important suppliers for the

Nashville MSA, where they are the top two suppliers of residential brick by volume and face

only each other as significant competitors. General Shale and Meridian are the only significant

suppliers of residential brick that operate brick manufacturing facilities located within 150 miles

of Nashville, and no other significant supplier has a manufacturing facility located within 200

miles.

         B.    The Memphis, Tennessee MSA

         24.   General Shale and Meridian are also important suppliers of residential brick for

the Memphis MSA, where they face only one other significant competitor. These three firms are

the only significant suppliers that operate brick manufacturing facilities within 200 miles of

Memphis, and no other significant supplier of residential brick has a facility located within 350

miles.

         C.    The Huntsville, Alabama MSA

         25.   Alabama consumed the fifth most bricks of any state in the nation in 2020.

General Shale and Meridian are two of the top three residential brick suppliers in Alabama and

combined supplied over 43% of the total brick volume sold in Alabama in 2020. General Shale



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and Meridian are particularly important suppliers for the Huntsville MSA, where they are two of

the top three residential brick suppliers by volume and face only one other significant

competitor. These three firms are the only significant suppliers that operate a residential brick

manufacturing facility located within 125 miles of Huntsville.

       D.      The Lexington, Kentucky MSA

       26.      General Shale and Meridian supplied over 50% of the total brick volume sold in

Kentucky in 2020. General Shale and Meridian are particularly important suppliers for the

Lexington MSA, where they are the two largest suppliers of residential brick by volume and face

only each other as significant competitors. General Shale and Meridian are the only significant

residential brick suppliers located within 50 miles of Lexington; the next closest residential brick

manufacturer is over 230 miles away.

       E.      The Louisville, Kentucky MSA

       27.     General Shale and Meridian are also important residential brick suppliers for the

Louisville MSA. In the Louisville MSA, the proposed acquisition would reduce the number of

significant competitors for residential brick from three to two, as the merging parties own two of

the three brick manufacturing facilities located within 200 miles of Louisville. Following the

transaction, the third-closest significant residential brick manufacturer would be located over 300

miles away.

       F.      The Indianapolis, Indiana MSA

       28.     General Shale and Meridian are the top two suppliers of residential brick to

customers in Indiana. In 2020, they combined to supply over 45% of the total brick volume sold

in the state. General Shale and Meridian are particularly important suppliers of residential brick

for the Indianapolis MSA, where they face only one other significant competitor. These three



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firms are the only significant suppliers that operate a residential brick manufacturing facility

located within 100 miles of Indianapolis, with the next closest competitor located almost 350

miles away.

       G.      The Detroit, Michigan MSA

       29.     General Shale and Meridian are the first and third largest suppliers of brick to

customers in Michigan. In 2020, General Shale and Meridian supplied 45% of the total brick

volume sold in the state. General Shale and Meridian are particularly important suppliers for the

Detroit MSA, where they are the top two competitors for residential brick by volume. In this

market, the proposed acquisition would reduce the number of significant suppliers for residential

brick from three to two with these three firms being the only significant suppliers that operate

residential brick manufacturing facilities within 375 miles of Detroit.

       H.      The Cincinnati, Ohio MSA

       30.     General Shale and Meridian are the top two residential brick suppliers to

customers in Ohio. In 2020, General Shale and Meridian supplied 28% of the total brick volume

sold in the state. General Shale and Meridian are particularly important suppliers for the

Cincinnati MSA, where they are the top two competitors for residential brick by volume and face

only one other significant supplier. These three firms are the only significant suppliers with

residential brick manufacturing facilities located within 200 miles of Cincinnati, and no other

significant manufacturer has a facility within 350 miles.

VI.    ENTRY

       31.     Entry into the relevant markets would be costly and time-consuming and is

unlikely to prevent the harm to competition that is likely to result from the proposed transaction.

The time and expense required to construct manufacturing facilities, acquire necessary



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equipment, develop product formulas, and overcome regulatory obstacles, such as obtaining

building and usage permits and ensuring environmental and workplace safety compliance, would

take years of planning and significant financial investment.

       32.     Additionally, repositioning by a commercial brick manufacturer is unlikely to

mitigate the harm that would result from the proposed transaction. Switching from producing

commercial brick to producing residential brick would come at a significant opportunity cost as

commercial brick sales generally yield a higher profit margin than residential brick.

Accordingly, it is unlikely that a manufacturer of commercial brick would be incentivized to

switch to supplying residential brick.

VII.   VIOLATIONS ALLEGED

       33.     General Shale’s proposed acquisition of Meridian is likely to substantially lessen

competition in each of the relevant markets for the design, manufacture, and sale of residential

brick set forth above in violation of Section 7 of the Clayton Act, 15 U.S.C. § 18.

       34.     Unless enjoined, the acquisition likely would have the following anticompetitive

effects, among others, in the relevant markets:

               (a)     actual and potential competition between General Shale and Meridian

would be eliminated;

               (b)     competition generally would be substantially lessened; and

               (c)     prices for the relevant products would likely increase, and innovation and

the quality of those products likely would decline.

VIII. REQUEST FOR RELIEF

       35.     The United States request that this Court:




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               (a)     adjudge and decree General Shale’s proposed acquisition of Meridian to

be unlawful and in violation of Section 7 of the Clayton Act, 15 U.S.C. § 18;

               (b)     preliminarily and permanently enjoin Defendants and all persons acting on

their behalf from consummating the proposed acquisition by General Shale of Meridian or from

entering into or carrying out any other contract, agreement, plan, or understanding, the effect of

which would be to combine Meridian with the operations of General Shale;

               (c)     award the United States the costs for this action; and

               (d)     grant the United States such other relief as the Court deems just and

proper.

Dated: October 1, 2021




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Respectfully Submitted,

FOR PLAINTIFF UNITED STATES:

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